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10

11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14

15   MOSAFER INC.; MOSAFER E-               CASE NO.
     COM, INC.; AND GOMOSAFER,
16                                          COMPLAINT FOR:
                             Plaintiffs.
17                                          (1) Violation of California Unfair
            vs.                             Competition Law;
18
     ELLIOT BROIDY; GEORGE                  (2) Violation of California False
19   NADER; BROIDY CAPITAL                  Advertising Law;
     MANAGEMENT, LLC;                       (3) False Advertising in Violation of
20   CIRCINUS, LLC; THE IRON
     GROUP INC. D/B/A                       Section 43(a)(1)(B) of the Lanham
21   IRONISTIC.COM; SCL SOCIAL              Act;
     LIMITED; PROJECT                       (4) Trade Libel; and
22   ASSOCIATES UK LTD;
     MATTHEW ATKINSON; AND                  (5) Negligence.
23   JOHN DOES 1-100,
                                            DEMAND FOR JURY TRIAL
24
                        Defendants.
25

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                         COMPLAINT AND DEMAND FOR JURY TRIAL
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1                                      INTRODUCTION
2          1.     This action arises from convicted felons Elliot Broidy (“Broidy”) and
3    George Nader (“Nader”) illegally orchestrating and executing a sophisticated—and
4    secret—assault against Qatar and Qatari businesses on behalf of the United Arab
5    Emirates (“UAE”).
6          2.     Defendants in the instant case—Broidy and Nader—are no strangers to
7    unlawful conduct. Most recently, Broidy—former finance chairman of the
8    Republican National Committee (“RNC”), vice chairman of the Trump Victory
9    Committee, and top fund-raiser for Donald Trump—pled guilty in 2020 to conspiring
10   to violate foreign lobbying laws as part of a covert campaign to influence the Trump
11   administration on behalf of Chinese and Malaysian interests, although he was later
12   pardoned by President Trump. For his part, Nader—a former adviser to Donald
13   Trump’s presidential transition team—also pled guilty in 2020 to a federal felony
14   offense and is currently serving a 10-year sentence in federal prison.
15         3.     In the case at bar, in exchange for hundreds of millions of dollars,
16   Defendants Broidy and Nader yielded their tremendous political influence to lobby
17   United States government officials to take anti-Qatari positions. Broidy and Nader’s
18   efforts did not stop at mere lobbying, however. Instead, they spearheaded a
19   widespread disinformation campaign (the “Disinformation Conspiracy”) which
20   targeted Qatar and Qatari-American businesses—with the goal of inflicting
21   catastrophic financial loss—using tactics remarkably similar to those employed by the
22   Russians when they interfered with the 2016 Presidential Election.
23         4.     As a direct result of the Disinformation Conspiracy, Plaintiffs Mosafer
24   entities—which were branded to be synonymous with Qatar and included an
25   integrated network of retail, e-commerce, distribution, and travel companies—lost
26   existing and prospective customers, including many in California. Revenue declined
27   precipitously—by hundreds of millions of dollars on a global scale, at least twenty
28   percent of which can be attributed to Mosafer’s U.S. entities.
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1          5.     To execute their Disinformation Conspiracy with these intended
2    catastrophic effects, Broidy and Nader enlisted Broidy’s two companies, Broidy
3    Capital Management, LLC (“BCM”) and Circinus, LLC (“Circinus”)—as well as a
4    network of contractors and mercenaries: The Iron Group Inc., doing business as
5    Ironistic.com, (“Ironistic”), SCL Social Limited (“SCL”), Project Associates UK Ltd
6    (“Project Associates”), Matthew Atkinson (“Atkinson”), and numerous others
7    contractors, including public affairs, advocacy, and strategic advisory groups, as well
8    as John Does 1-100 (collectively, “Defendants”).
9          6.     Hidden behind aliases, companies, contractors, mercenaries, and
10   agents—and in violation of numerous reporting and labeling obligations under the
11   Foreign Agents Registration Act (“FARA”), 22 U.S.C. § 611 et seq., and other federal
12   and state laws—Broidy and Nader orchestrated and implemented a vast, sophisticated
13   campaign against Qatar and Qatari-based businesses.
14         7.     The goal of the Disinformation Conspiracy was simple—drive
15   governmental and private actors away from doing business with Qatar and Qatari-
16   related businesses in an effort to cripple the Qatari economy and usurp its business
17   and political opportunities for the UAE and UAE-related businesses. To do so, their
18   campaign employed conventional print media, internet websites, and social media
19   accounts to publish false and misleading information regarding the safety, stability,
20   and nature of Qatar and Qatari-based businesses. Using these mediums, Defendants,
21   along with their co-conspirators, created an ecosystem that funneled American
22   consumers into a vortex designed to drive them away from Qatar and any business
23   that was affiliated with it. The goal was to strangle and starve these businesses of
24   consumers so that in the end, they would crumble.
25         8.     To accomplish this goal, Defendants ensured that, at each step on the
26   path toward consuming information about Plaintiffs Mosafer entities and like
27   businesses, the individual seeking information would be steered directly to their
28   misinformation. Defendants implemented a series of steps to achieve this effect.

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1          9.     First, Defendants directly, aggressively, and illegally lobbied members of
2    the United States Government to sever all ties with anything Qatar and effectively
3    boycott its economy.
4          10.    Second, Defendants paid influencers to create conferences to further
5    engrain falsehoods among influential U.S. consumers. At the same time, Defendants
6    directed influencers to take to print media to spread the false narrative that they had
7    created in order to ensure that California residents and other consumers were again
8    misinformed.
9          11.    And, third, Defendants relied on a vast internet network that utilized
10   concocted maligning “hashtags” to ensure that, when a consumer in California, for
11   example, decided to search the internet for information about Plaintiffs and like
12   businesses, merely including the word “Qatar” in a search bullion would fast track
13   that searcher into a universe of fake news websites, Twitter accounts, YouTube
14   accounts, and other social-media planted information—all of which were creatures of
15   manipulation.
16         12.    Through these coordinated means, Defendants’ Disinformation
17   Conspiracy achieved an extraordinary degree of success—creating, at the behest of the
18   UAE, a toxic ecosystem of pervasive, inflammatory, false, and misleading information
19   about Qatar and Qatari-based businesses and in turn ensuring that this information was
20   widely disseminated in conventional print and broadcast media, internet websites, and
21   social media.
22         13.    As a direct and intended consequence of this unlawful campaign, devised
23   and executed by Defendants Broidy and Nader on behalf of their client UAE, innocent
24   Qatari-related businesses—including Plaintiffs Mosafer entities—suffered a
25   catastrophic loss. Through this lawsuit, the Mosafer entities seek to hold Defendants
26   accountable for their anticompetitive, deceptive, unfair, and unlawful conduct and to
27   permanently enjoin them from continuing to perpetuate this conduct.
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1                                 JURISDICTION AND VENUE
2          14.     This Court has diversity jurisdiction over the claims for relief under 28
3    U.S.C. § 1332. Plaintiffs are citizens of Delaware, New York, and Qatar, while, as
4    explained below, Defendants are citizens of California, Virginia, Washington D.C.,
5    and the United Kingdom. Accordingly, Plaintiffs’ citizenship is completely diverse
6    from all Defendants in this action. Further, the amount in controversy exceeds
7    $75,000 dollars.
8          15.     This court also had federal question jurisdiction over Plaintiffs’ claim
9    against all Defendants for violation of Section 43(a) of the Lanham Act pursuant to 28
10   U.S.C. § 1331. Moreover, the Court has supplemental jurisdiction over the related
11   state law claims pursuant to 28 U.S.C. § 1367.
12         16.     Venue is proper in the Central District of California pursuant to 28
13   U.S.C. § 1391(b) and 28 U.S.C. § 84 because it is the district where Broidy and BCM
14   reside and where all Defendants are subject to the Court’s general and/or specific
15   personal jurisdiction.
16                                           PARTIES
17         17.     Plaintiff Mosafer Inc. is a destination management company for foreign
18   tourists from Asia, the European Union, the U.S., and the Middle East and North
19   Africa region. Plaintiff Mosafer Inc. operates retail stores which sell high-end
20   luggage and travel accessories, and where customers can not only purchase Mosafer’s
21   merchandise but can also book travel in its stores. It is incorporated under the laws of
22   Delaware and has its principal place of business in New York. In addition, Mosafer
23   Inc. expanded to include a distribution company, which distributed Mosafer’s
24   merchandise to retail stores and directly to consumers from its warehouse located in
25   New Jersey.
26         18.     Plaintiff Mosafer E-Com, Inc. is a company that operates an online store
27   that sells high-end luggage and travel accessories. Through the online platform,
28   consumers in all states in the U.S., including California, had the ability to purchase the

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1    same merchandise available in the retail stores and also access Mosafer’s online travel
2    booking company. It is incorporated under the laws of Delaware and has its principal
3    place of business in New York.
4          19.     Plaintiff GoMosafer, the online division of Mosafer Travel, is a Qatar-
5    based travel agency. GoMosafer’s website (gomosafer.com) was the first, and only
6    online booking portal focused on the Middle East and North Africa region that
7    allowed customers from around the world, including in all states in the U.S., to book
8    travel packages to Qatar and other destinations by traveling through Qatar and also
9    place them on hold and resume on the particular date that was most suitable for the
10   customer to book travel.
11         20.     Plaintiffs are corporate affiliates and collectively shall be referred to in
12   this Complaint as “Mosafer” or “the Mosafer entities.” The Mosafer brand had a
13   global reach and presence prior to the pointed and intentionally destructive acts by
14   Defendants.
15         21.     Defendant Broidy is a businessman who resides in Beverly Hills,
16   California, and is a citizen of California. He is the former finance chairman of the
17   RNC, vice chairman of the Trump Victory Committee, and top fund-raiser for Donald
18   Trump and has twice been convicted of crimes.
19         22.     Defendant BCM, an investment firm, is a limited liability company
20   owned, operated, and otherwise controlled by Broidy and is incorporated and has its
21   principal place of business in Los Angeles, California.
22         23.     Defendant Circinus, a private security company, is a limited liability
23   company owned, operated, and otherwise controlled by Broidy and is incorporated
24   and has its principal place of business in Fredericksburg, Virginia.
25         24.     Defendant Nader is a businessman, lobbyist, and former adviser to
26   Donald Trump’s presidential transition team. He is currently incarcerated in Virginia
27   and also is a citizen of Virginia.
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1          25.    Defendant Ironistic is a full-service digital strategies and marketing
2    company that designs and builds websites and online marketing campaigns. It is
3    incorporated under the laws of Virginia, and it has its principal office in Alexandria,
4    Virginia.
5          26.    Defendant SCL is a British company formerly affiliated with Cambridge
6    Analytica and currently affiliated with its successor Emerdata Limited, which
7    provides campaign management and communications services for political customers.
8          27.    Defendant Project Associates is a British company engaged in strategic
9    communications consulting that maintains offices globally, including in the District of
10   Columbia and New York.
11         28.    Defendant Atkinson was the Digital Marketing Director at Cambridge
12   Analytica from 2016 to 2018. Atkinson currently resides in and is a citizen of
13   Washington D.C.
14         29.    Defendants John Does 1-100 are entities or individuals who, upon
15   information and belief, are otherwise subject to the jurisdiction of this Court. The
16   specific identities of the various Does are unknown to Mosafer at this time, but
17   Mosafer is informed and believes, and thereon alleges, that each of the Does is
18   responsible in some manner for the occurrences alleged in this Complaint, including
19   anonymously posting false statements on various social media platforms and websites
20   to interfere with business relationships, conspiring with the named Defendants to
21   spread disinformation to the public and create an anticompetitive environment, and
22   that the Does each were the agents, joint venturers, alter egos, partners,
23   representatives, and employees of each other, acting within the course and scope of
24   said agency and employment of each of the other Defendants, participated with,
25   conspired with and aided and abetted each of the other Defendants, and in doing the
26   things herein alleged, were acting within the scope of such partnership, agency,
27   representation or employment with the knowledge, authorization, consent and
28   ratification of the other Defendants. Mosafer will seek to leave to amend this

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1    Complaint to insert the true names and capacities of each Doe when the same are
2    ascertained.
3                                  FACTUAL ALLEGATIONS
4          A.       Before The Disinformation Conspiracy, Mosafer Was An Industry
5                   Leading Travel Conglomerate
6          30.      Mosafer is a global one-stop industry-leading travel conglomerate. The
7    word “Mosafer” means “traveler” in Arabic, Turkish, Farsi, and Urdu. As its name
8    suggests, Mosafer’s business focus is on the travel industry. It has long been one of
9    Qatar’s leading tourism companies, has been recognized as the market leader on
10   innovation, and GoMosafer’s public application was a frequently downloaded online
11   travel application in the Middle East. Prior to the Disinformation Conspiracy,
12   Mosafer enjoyed a large percentage of the market share of travel originating in the
13   U.S.—including from California—to the Middle East as compared to its competitors.
14         31.      Mosafer’s Qatari heritage is the cornerstone of its branding. Indeed,
15   Mosafer’s branding reflected a deliberate attempt to make Mosafer synonymous with
16   Qatar. Mosafer spent considerable money in designing its store, its products, its e-
17   commerce website, its online ticketing website, and its company logos and brand
18   details to invoke its Qatari roots. In connection with this strategy, Mosafer
19   purposefully used elements of the Qatari flag in their branding and specifically chose
20   as their trade dress the same burgundy found on the flag. Moreover, Mosafer’s
21   advertisements contained the Qatari flag and frequently noted Qatari current events
22   (such as referring to Qatari sports victories and Qatari holidays). Mosafer also
23   frequently advertised trips on Qatar Airways—the primary Qatari airline which uses
24   the Country’s name. In addition, online searches, including its Wikipedia page,
25   identified Mosafer Inc. as a Qatari entity. In short, Mosafer was intimately associated
26   with Qatar, and a consumer could not go to a Mosafer store or website without being
27   inundated with Qatari symbolism.
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1          32.    Prior to 2015, Mosafer was a recognized global brand synonymous with
2    luxury. The Mosafer brand had a presence in Qatar, Saudi Arabia, the UAE, Jordan,
3    Turkey, and South Africa.
4          33.     By 2015, GoMosafer also had a presence in the United States, and in
5    many ways, it served as the gateway for the Mosafer companies. GoMosafer provided
6    bespoke travel arrangements to its customers through its website and allowed
7    customers from around the world, including the U.S., to book travel to Qatar and other
8    destinations by traveling through Qatar. Through its travel agency, Mosafer intended
9    to bring Americans to Qatar and use Qatar as a gateway to the Middle East and the
10   rest of the world.
11         34.    GoMosafer.com was the first, and only booking portal focused on the
12   Middle East that allowed customers to book travel packages and also place them on
13   hold (i.e., place their travel on hold and resume at a particular date that was suitable
14   for the customer).
15         35.    Because of GoMosafer’s success and U.S. clientele, Mosafer made the
16   business decision to have a physical footprint in the United States.
17         36.    Beginning in or about 2015, based on increased demand from clientele in
18   the United States, and with the emergence of Qatar as both a more likely travel
19   destination and hub for travel in the region, Mosafer made plans to enter the U.S.
20   markets. Mosafer’s effort was thoughtful, planned, and calculated for success. The
21   brand relied on outside consultants in order to ensure that its vision would prove
22   successful. Ultimately, they decided on a three-phase approach.
23         37.    First, they would open a luxury flagship store in Manhattan. The store
24   would provide both retail merchandise and travel booking. Then they would open a
25   distribution company in New Jersey to service the retail store, and likewise, to sell
26   merchandise directly to consumers and into departments stores. The store would also
27   help publicize the online booking company (GoMosafer).
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1          38.    Second, they would take the retail company, Mosafer Inc., online as well
2    to further reach consumers.
3          39.    And third, they would then expand from the New York retail store, into
4    Las Vegas and Los Angeles, in order to have a presence in the major markets in which
5    they both had current clients and research had shown would prove to be accretive. So,
6    in 2015, Mosafer Inc. opened its flagship retail store in Manhattan, New York, with a
7    star-studded grand opening event. The store was a one-stop-shop for travel—not only
8    could consumers purchase high-end luxury travel items (such as bags, luggage, and
9    other accessories, many of which were manufactured by Mosafer), they could also
10   book travel in the store through Mosafer’s travel agency.
11         40.    Around the same time, Mosafer Inc. created an affiliated distribution
12   company, which distributed Mosafer’s products to the New York store and also was
13   designed to be a hub, sending merchandise to a planned California retail store
14   location, as well as directly to customers and key partners such as department stores.
15         41.    In 2017, Mosafer created Mosafer E-com, Inc., an affiliated e-commerce
16   website. This company offered an online platform accessible to consumers in the
17   United States who could use the website to purchase the same merchandise available
18   in the retail stores and could also access Mosafer’s online travel booking company,
19   GoMosafer.
20         42.    Mosafer enjoyed growing revenue, expansion, and increasing market
21   share in the tourism business. Mosafer employed over 200 individuals across the
22   globe and recorded millions of dollars in revenue. The emergence as Qatar being
23   named as host to the 2022 FIFA World Cup further bolstered an upward trajectory for
24   all the Mosafer Companies.
25         43.    But after Defendants began their systematic attacks, Mosafer was dealt
26   one crippling blow after another. The net effect was that the companies suffered
27   massive losses domestically and globally, leading to the eventual forced closure of its
28   U.S. flagship store in 2019.

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1          44.    Defendants actively engaged in an elaborate and successful effort to
2    conceal their coordination and participation in these attacks against Mosafer and like
3    businesses. Defendants’ goal was to inflict maximum harm with minimal exposure
4    toward their participation. They were largely successful until late 2019, following
5    years of information warfare for which they had been paid illicit moneys in excess of
6    $100,000,000.
7          B.     The UAE Enlists Nader To Lead Anti-Qatari Efforts In The USA
8          45.    In June 2017, the UAE attacked Qatar. The UAE took the drastic step of
9    severing all diplomatic ties with Qatar, expelling all Qatari nationals living in the
10   UAE, prohibiting its citizens from traveling to Qatar, and closing off its airspace and
11   territorial waters to Qatari vessels. Around the same time, the UAE commenced its
12   anti-Qatar campaign in the United States. The UAE sought to harm everything
13   associated with Qatar, and at the center of that bullseye were Qatar businesses and
14   businesses that served as a gateway between Qatar the United States. Given the
15   important part that the United States played in this field, the UAE needed U.S.
16   contractors to do its bidding.
17         46.    The UAE turned to Nader, a Lebanese-born American businessman, and
18   lobbyist. Nader reportedly has served as an advisor to the UAE’s Crown Prince
19   Mohammed bin Zayed Al Nahyan—and has received millions of dollars for the
20   assistance that he has provided to the UAE.
21         47.    Nader also acted as an advisor on the transition team for President
22   Trump. Through this affiliation, Nader became acquainted with Broidy.
23         C.     Nader Recruits Broidy To Assist In The Anti-Qatari Campaign And
24                The Two Use Their Political Connections To Lobby Against Qatar,
25                In Violation of FARA
26         48.    Broidy is a wealthy businessman who has previously served as the
27   finance chairman of the RNC from 2005 to 2008 as the deputy finance chairman of
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1    the RNC from 2017 to April 2018, and as a vice-chairman of the Trump Victory
2    Committee.
3          49.    In 2009, Broidy pled guilty in a public corruption case in New York
4    relating to $1 million in illegal gifts that Broidy gave to New York State pension
5    authorities in exchange for the state pension fund investing $250 million with his
6    private equity firm, Markstone Capital Partners. As part of his plea deal, Broidy paid
7    $18 million in restitution.
8          50.    After Trump won the 2016 Presidential election, Broidy leveraged his
9    connections with the White House in exchange for millions of dollars from foreign
10   actors—a fact that Broidy actively tried to bury and conceal, instead insisting as
11   recently as in 2020 that he was never a foreign agent and never acted on behalf of any
12   foreign government. Notwithstanding his attempts for several years to conceal his
13   actions as a foreign agent on behalf of foreign governments, in October 2020, Broidy
14   pled guilty to Conspiracy to Serve as an Unregistered Agent of a Foreign Principal,
15   based on his unregistered lobbying on behalf of Chinese and Malaysian interests—a
16   felony that carried a possible sentence of five years imprisonment.
17         51.    FARA requires that persons acting as agents of foreign principals who
18   conduct political activity in the U.S. to disclose the details of their relationship with
19   the foreign principal and report all activities, receipts, and disbursements made on the
20   foreign principal’s behalf. The purpose of FARA disclosures is to give the American
21   people the ability to fully evaluate political communications that are sponsored by a
22   foreign state and to prevent foreign states from concealing their attempts to influence
23   U.S. government policy.
24         52.    Pursuant to his guilty plea, Broidy admitted to engaging in a lobbying
25   effort aimed at stopping a criminal investigation into a massive fraud scheme at a
26   Malaysian sovereign wealth fund. Broidy conceded that he attempted to facilitate a
27   meeting between President Trump and the Malaysian Prime Minister in an effort to
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1    resolve the investigation. He also admitted that he hoped that by arranging this
2    meeting, it would further his goal of securing additional business with Malaysia.
3          53.    In addition, Broidy admitted that he agreed to lobby on behalf of a
4    Chinese Minister to “use his influence with high-ranking United States government
5    officials to advocate for” the removal and return of the Chinses billionaire that was
6    living in the U.S. to China.
7          54.    As part of this plea agreement to a felony, Broidy agreed to forfeit $6.6
8    million. See United States v. Broidy, No. 1:20-cr-00210-CKK, ECF No. 13
9    (“Transcript of Arraignment and Change of Plea before the Hon. Colleen Kollar-
10   Kotelly, United States District Judge, Held Via Videoconference”) (D.C.C. dated Oct.
11   20, 2020).
12         55.    Although prosecutors indicated that they intended to present evidence at
13   sentencing regarding Broidy’s efforts “to obtain business from a Middle Eastern
14   country and [his] client’s efforts to influence U.S. policy towards a second Middle
15   Eastern country in its alleged support of terrorist activities”—believed to be a
16   reference to the UAE and Qatar—Broidy was pardoned by President Trump before
17   this evidence could be presented.
18         56.    As confirmed by prosecutors, Broidy’s unregistered foreign lobbying
19   efforts extended far beyond those that he pled guilty to. In March and April 2018,
20   hundreds of pages of documents, which included emails, business proposals, and
21   contracts between Broidy and Nader, were provided to various news sources, such as
22   the New York Times and the Associated Press (“AP”). Upon information and belief,
23   these documents show that Broidy and Nader acted as unregistered agents of the UAE
24   in violation of FARA.
25         57.    Reporting on the contents of these documents was extensive. According
26   to a New York Times article, these documents establish that Nader “worked for more
27   than a year to turn . . . [Elliot Broidy] into an instrument of influence at the White
28   House for the rulers of Saudi Arabia and the United Arab Emirates.”

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1          58.    The documents also reportedly showed that Broidy and Nader (1) pushed
2    the White House to remove Secretary of State Rex W. Tillerson because he did not
3    support a confrontational approach to Qatar and Iran; (2) tried to broker introductions
4    between high-ranking government officials in those foreign nations and their
5    American counterparts; (3) repeatedly pressed President Trump to meet privately
6    outside the White House with the leader of the UAE; and (4) encouraged U.S.
7    politicians to cut ties with Qatar at the UAE’s behest.
8          59.    Broidy was reportedly rewarded handsomely for his efforts. In April
9    2018, Nader reportedly wired $2.5 million to Broidy as “part of an effort to persuade
10   the U.S. to take a hard line against Qatar” and “shortly after he received the donation,
11   Broidy sponsored a conference on Qatar’s alleged ties to Islamic extremism, and Rep.
12   Ed Royce (R-CA), chairman of the House Foreign Affairs Committee, announced
13   legislation to condemn Qatar as a terror-supporting state.” Broidy and Nader actively
14   tried to bury and conceal these actions from the public and continuously insisted, as
15   recently as in 2020, that they were never foreign agents and never acted on behalf of
16   any foreign government. Their actions were unknown until recently. Additionally, in
17   January 2018, Broidy’s firm, Circinus, was awarded a contract with the UAE worth
18   over $200 million and Broidy collected a “first installment” of $36 million for an
19   intelligence-gathering contract with the UAE. Moreover, BCM received payments
20   directly from Nader and/or Nader-controlled entities—a fact that they actively tried to
21   bury and conceal for years. Indeed, these actions were also unknown to the public
22   until recently and denied by Defendants.
23         D.     Broidy and Nader’s Orchestration of the Disinformation Conspiracy
24         60.    Broidy and Nader’s efforts went far beyond lobbying the White House on
25   behalf of the UAE. The documents provided to the press also reportedly show that in
26   March 2017, Broidy and Nader provided foreign entities a proposed budget of
27   $12,000,000 to “expose and penalize” Qatar.
28

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1          61.    Broidy and Nader then set the wheels in motion to orchestrate the
2    Disinformation Conspiracy. They hired American companies (including Broidy’s
3    BCM and Circinus) and American actors to use conventional print media and social
4    media to disseminate disinformation aimed at crippling Qatar businesses, including
5    Qatar’s then-thriving tourism businesses—and, principally, Mosafer. In essence,
6    Defendants engaged in information warfare, intentionally deceiving the media and
7    consumers through the use of internet trolls, fake websites, and influencers to
8    manipulate the U.S. public into falsely thinking Qatari businesses were sponsors of
9    terrorist groups, thereby rendering it impossible for Qatari businesses, including
10   Mosafer, to maintain a customer base.
11         62.    Through the Disinformation Conspiracy, Broidy and Nader conspired to
12   represent to the public that: (1) Qatar and Qatari businesses were unstable and
13   untrustworthy; (2) the political state of Qatar was extremely unstable, rendering travel
14   to and through Qatar unsafe; and (3) boycotting Qatar businesses was necessary to
15   counteract their terrorism funding activities.
16         63.    The purpose of the Disinformation Conspiracy was to divert business
17   from Qatar and Qatari-related businesses—including, in particular, Mosafer, given its
18   branding synonymous with Qatar—and instead direct them to the UAE and UAE-
19   related businesses.
20         64.    In furtherance of the Disinformation Conspiracy, Broidy and Nader
21   executed a “media blitz” in an effort to continue to “hammer Qatar.” For instance, in
22   an April 2017 email from Broidy to Nader, Broidy wrote regarding the spreadsheet
23   titled “Circinus – Progress Report re MB and Q” (MB and Q, a/k/a Mohammed bin
24   Zayed Al Nahyan and Qatar): “You will see that there are many tabs indicating the
25   many ways the issues are being addressed. [E].g. Conference, Documentary, Articles,
26   Op Ed, Social Media . . . etc.”
27         65.    The following month, in May 2017, Broidy sent an email to Nader
28   regarding “what Circinus can do in the future,” which stated that “Circinus has been

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1    involved in information and disinformation campaigns using the internet and social
2    media” and that “[w]e have demonstrated through our orchestration of the
3    extraordinary PR campaign against Qatar . . . and in our generation of major, concrete
4    steps toward marginalizing Qatar.” Broidy further stated that his “[g]oals, Circinus’
5    goals and the goals of KSA [Saudi Arabia] are completely aligned” and further
6    thanked Nader “for making MBS [a/k/a Mohammed bin Salman bin Abdulaziz Al
7    Saud] aware of all that I and Circinus have to offer as we enter the next phase of our
8    relationship.”
9          66.    As part of the Disinformation Conspiracy, on September 21, 2017, upon
10   information and belief, Broidy orchestrated – through proxies – a full-page
11   advertisement run in the Washington Post. This advertisement, which used the same
12   burgundy color found in both Qatar’s flag and Mosafer’s branding, stated in big, bold
13   letters, “QATAR IS A SAFE HAVEN FOR TERRORISTS.” The advertisement went
14   on to claim that: “It is a well-known fact that Qatar has become a favored safe-haven
15   for terrorists from around the world. Over 60 terrorist organizations, individuals or
16   NGOs . . . are currently either based out of or supported by the government of Qatar.”
17   This advertisement was intentionally false and misleading—Qatar did not support
18   terrorists or provide them with a safe haven.
19         E.     SCL, Project Associates, and Atkinson Join and Amplify the
20                Disinformation Conspiracy by Expanding Platforms and Accounts:
21                Qatarexposed and Boycott Qatar
22         67.    With Broidy and Nader orchestrating, SCL, Project Associates, and
23   Atkinson were recruited to join the Disinformation Conspiracy to expand the
24   Conspiracy’s reach to other social media platforms, such as YouTube.
25         68.    In September 2017, Project Associates, a well-known “global strategic
26   communications consultancy” that provided strategic advisory and public diplomacy
27   services for politicians and governments, engaged SCL to develop and execute a
28   social media campaign on behalf of a foreign principal (i.e., the UAE).

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1          69.    SCL and its former parent entity, Cambridge Analytica (now Emerdata
2    Limited), are infamous for their roles in data mining, mass psychological
3    manipulation, and participating in covert efforts to manipulate elections in numerous
4    countries. In an administrative complaint against Cambridge Analytica, the Federal
5    Trade Commission (“FTC”) alleged, and ultimately found, that Cambridge Analytica
6    and SCL Elections Limited (both of which are part of the SCL Group Ltd.) employed
7    deceptive tactics to harvest personal information from tens of millions of Facebook
8    users for voter profiling and targeting. For example, the FTC found that “SCL
9    Elections entered into a Services Agreement with Cambridge Analytica whereby SCL
10   Elections agreed, among other things, to (a) acquire, for and on behalf of Cambridge
11   Analytica, demographic, transactional, lifestyle, and behavioral data about consumers
12   in target populations; (b) identify and build target voter lists; (c) apply research
13   techniques to understand better the habits and daily lives of target voter groups, and
14   (d) apply psychological profiles to target groups of voters.” Indeed, Cambridge
15   Analytica manipulated elections in many countries throughout the world.
16         70.    One of the key actors for Defendant SCL was Defendant Atkinson, an
17   employee of Cambridge Analytica, who agreed to act through SCL and create a
18   YouTube account “Qatar exposed” on May 29, 2017, as well as other social media
19   and internet platform planted content. The content that Defendants SCL, Atkinson
20   and Project Associates published through this account spread additional
21   disinformation regarding Qatar and Qatari businesses.
22         71.    The YouTube account had no labels or other indicators that would
23   demonstrate to the American public that any of the Defendants participated in its
24   creation or maintenance. On the contrary, it was crafted to look independent,
25   legitimate, and authentic.
26         72.    Notwithstanding FARA requirements, Defendants SCL, Project
27   Associates, and Atkinson did not register this effort until October 2017. Both filings
28   with FARA, in 2017 and 2018, list SCL Social Limited as the registrant and Atkinson

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1    as an employee who will render services “in furtherance of the interests” of the
2    foreign principals. 1 In addition, the filings state that “SCL Social Limited is 100%
3    owned by SCL Analytics.”2 As part of SCL’s FARA filing, they included a copy of
4    the “Consultancy Agreement” entered into between SCL Social Limited and Project
5    Associates (UK) Limited in September 2017, which provides, in part, that SCL Social
6    Limited would “provide consulting services as agreed on an ad hoc basis.” 3
7              73.   Atkinson did not register under FARA until October 2017, disclosing at
8    that time that he was working for the National Media Council of UAE (via Project
9    Associates) and further disclosing that he would be “working as the principal strategist
10   to the registrant [SCL Social Limited] for purposes of developing and executing a
11   global social media campaign on behalf of the foreign principal.” 4 The form further
12   disclosed that he was being compensated by a related company, SCL USA
13   Incorporated, but was, in fact, performing services for Defendant SCL. 5
14             74.   In October 2017, SCL Social Limited also registered under FARA and
15   disclosed that Atkinson was an employee engaged in “a global social media campaign
16

17

18   1
         See https://efile.fara.gov/docs/6473-Registration-Statement-20171006-1.pdf
19       (October 2017 filing); https://efile.fara.gov/docs/6473-Supplemental-Statement-
20
         20180531-1.pdf (May 2018 supplemental filing).

21   2
         See https://efile.fara.gov/docs/6473-Registration-Statement-20171006-1.pdf
         (October 2017 filing); https://efile.fara.gov/docs/6473-Supplemental-Statement-
22       20180531-1.pdf (May 2018 supplemental filing).
23
     3
         See https://efile.fara.gov/docs/6473-Exhibit-AB-20171006-1.pdf (referring to the
24       contractual obligations of SCL Social Limited pursuant to the “Consultancy
25       Agreement” between SCL Social Limited and Project Associates (UK) Limited).

26   4
         https://efile.fara.gov/docs/6473-Short-Form-20171006-2.pdf.
27   5
         Id.
28

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1    on behalf of National Media Council of UAE” who had bought ads on various social
2    media platforms including Facebook, Twitter, YouTube, relating to Boycott-Qatar.6
3             75.   Like the other Defendants discussed above, SCL’s FARA filing reveals
4    that SCL, Project Associates, and Atkinson availed themselves of the benefits and
5    protections of California law in furtherance of the Disinformation Conspiracy.
6    Specifically, the FARA filing reveals that SCL purchased advertisements from
7    Facebook, Twitter, YouTube, and other social media platforms—all of whom have
8    their headquarters in the State of California. Furthermore, SCL, Project Associates,
9    and Atkinson’s ads and publications spreading disinformation regarding Qatar and
10   Qatari businesses were published on servers located in California, as Facebook’s
11   servers are located in California. Additionally, these ads were seen by California
12   consumers, as is evidenced by several Mosafer customers canceling their reservations
13   with Mosafer due to the widespread publication of this disinformation. In point of
14   fact, the very nature of this effort was to use analytics and target consumers in key
15   markets, specifically California, with the intention of having maximum impact. As
16   previously remarked by a Cambridge Analytica executive, Cambridge Analytica
17   identified “persuadable votes” and targeted blogs, websites, articles, videos, and ads at
18   them “until they saw the world the way we wanted them to.”
19            76.   The Qatar Exposed social media account and the ads that promoted
20   Boycott-Qatar were just part of a robust effort that would be deployed by all
21   Defendants, acting in concert, to specifically damage Qatari-based businesses—
22   including Mosafer. For example, videos were uploaded on the Qatar Exposed account
23   with the following titles: (i) “How Qatar is destabilising the Gulf”; (ii) “Why does
24   Qatar support terrorism?”; and (iii) “The case for boycotting Qatar”.
25            77.   After joining and perpetuating the Disinformation Conspiracy in 2017,
26   without registering their efforts through FARA filings or otherwise labeling or
27

28
     6
         https://efile.fara.gov/docs/6473-Registration-Statement-20171006-1.pdf.
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1    indicating their participation during the time of their creation, expansion, or
2    maintenance of the media accounts through which they spread disinformation
3    regarding Qatar and Qatari businesses to the American public, several Defendants,
4    including Project Associates, continued to spread disinformation regarding Qatar and
5    Qatari-based businesses throughout 2018 and 2019.
6             78.   For example, as recently as February 2019, nearly two years after the
7    damage initially caused to Qatari businesses such as Mosafer, Project Associates filed
8    a Supplemental Statement with the Department of Justice in which it disclosed that
9    Project Associates was continuing to render services to the UAE to “create and
10   promote counter-narratives that discourage young people from extremism and
11   promote greater collaboration between the U.S. and UAE on counter-terrorism . . . and
12   to raise awareness about state-sponsored terrorism in the Middle East.”7
13            79.   More recently, in August 2019, Project Associates filed another
14   Supplemental Statement with the Department of Justice indicating they had acquired a
15   “new foreign principal,” Dubai Department of Tourism & Commerce Marketing,
16   during the “6 month reporting period.”8 Thus, they have continued to act in
17   furtherance of foreign interests, particularly in the tourism industry, without
18   registering or otherwise disclosing their efforts until after their unfair, unlawful, or
19   fraudulent conduct has already commenced.
20

21

22

23

24   7
         See https://efile.fara.gov/docs/6472-Short-Form-20190215-8.pdf;
25        https://efile.fara.gov/docs/6472-Short-Form-20171006-2.pdf.

26   8
         See https://efile.fara.gov/docs/3634-Supplemental-Statement-20190830-42.pdf
          (August 2019 FARA filing that states, on behalf of the Dubai Dept of Tourism, they
27
          have hired several American individuals, including Sujata Mitra – an individual
28        located in Alexandria, VA, who apparently works as the Senior VP of “Earned
          Media Strategies.”).
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1          F.      Along with their Co-conspirators, Ironistic Promotes the
2                  Disinformation Conspiracy by Creating Websites and Social Media
3                  Accounts: QatarExposed, QatarTruth, and BoycottQatarNow
4          80.     Just as SCL, Project Associates, and Atkinson were working in tandem
5    with Broidy and Nader to further the Disinformation Conspiracy, Ironistic also joined
6    in to create other websites – Qaterexposed.com, Qatartruth.com, and
7    BoycottQatarnow.com – to disseminate false information and control the public’s
8    perception of Qatari businesses, such as Mosafer.
9          81.     In each instance, these three websites and social media accounts looked
10   ordinary, organic, and credible. Each held itself out to provide important news and
11   information to readers seeking help to understand the concerted business embargo to
12   eviscerate Qatari businesses. But all advertisements and publications contained
13   significant disinformation intended to deceive the public, harm Qatari-related
14   businesses, such as Mosafer, and drive business to the UAE and UAE-related
15   businesses.
16         82.     As one example of its unfair and deceptive conduct, Ironistic created a
17   Boycott Qatar Airways advertisement, which was uploaded on May 22, 2017,
18   encouraging the public to “Boycott Qatar Airways for their human rights abuses.”
19         83.     As another example, the QatarExposed Facebook and Twitter page
20   claimed to be a “group of concerned citizens who want Qatar’s support for global
21   terrorist organisations to end.” On October 12, 2017, a “cover photo” was added to
22   the Facebook and Twitter pages which, used the same burgundy as the Qatari flag and
23   stated, “Expose Qatar’s links with extremists. Stop the flow of blood money.
24   #sanctionQatar.” Then, on October 14, 2017, a video was uploaded by QatarExposed
25   Facebook page with the caption “ISIS is just one of Qatar’s many pawns. Uncover
26   Qatar’s links with extremists.” This video falsely claimed that Qatar financed and
27   promoted terrorism.
28

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1          84.    Ironistic expressly availed itself of the benefits and protections of
2    California law in carrying out the Disinformation Conspiracy. Specifically, Ironistic
3    created social media accounts – including accounts on Twitter and Facebook –
4    whereby it took out advertisements that specifically targeted individuals in California.
5    Moreover, it utilized Twitter’s and Facebook’s servers in California to publish
6    disinformation.
7          85.    These expansive unlawful efforts, however, are not exhaustive examples.
8    There were other illegal inauthentic hashtag campaigns, fake Twitter accounts,
9    websites, and the like, assembled and deployed, all with the same goal and at the
10   direction. For instance, Defendants used Bullpen Strategy Group, Inc. doing business
11   as, and formerly known as, Definers Corp. (“Definers”) who created the website
12   Qatarcrisisnews.com and in July 2017, Definers created a companion social media
13   account for Qatar Crisis News on Twitter. Like the website, the Twitter account
14   (@QatarCrisisNews) accused Qatar and its businesses of, among other things,
15   supporting global terrorism. In short, Defendants embraced Broidy’s approach to stop
16   at nothing to harm Plaintiffs and “keep hammering the bastards.”
17         G.     The Disinformation Conspiracy Caused Mosafer To Lose A
18                Significant Amount Of Business
19         86.    In sum, Defendants conspired to create a network of websites that would
20   manipulate the public in an attempt to divert Qatari-related businesses, such as
21   Mosafer’s, to the UAE.
22         87.    Through the use of an aggressive media strategy, fake social media
23   accounts, hashtags, and bots, the false information spread like wildfire and saturated
24   the internet. For example, a consumer might read about Qatar from a newspaper op-
25   ed that was planted by Broidy and then do an internet search to learn more about
26   Qatar. At that point, due to the promulgation and re-sharing of various disparaging
27   hashtags and websites, the user would be directed to a website like “Qatar crisis,”
28

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1    which purported to provide impartial news and which looked legitimate and helpful
2    but instead was false propaganda.
3          88.    The Disinformation Campaign was incredibly successful, and the false
4    information quickly permeated throughout the United States and created a “wallpaper”
5    effect on Qatari businesses, including Mosafer—i.e., anyone who researched anything
6    regarding Qatar was brought to a negative and false article about Qatari businesses.
7          89.    The key to Broidy and Nader’s efforts was ensuring that the American
8    public perceived the Disinformation Conspiracy content as being authentic. To that
9    end, they attempted to erase any connections between Broidy, Nader, and foreign
10   interests (such as the UAE) and the Disinformation Conspiracy. For example,
11   although Broidy was responsible for the September 21, 2017, Washington Post
12   advertisement, the advertisement provided the contact information for an individual
13   named Andy H. King, not Broidy.
14         90.    Defendants were so successful at hiding their tracks that Mosafer was
15   unaware that Defendants engaged in a years-long, carefully orchestrated
16   Disinformation Conspiracy that targeted Qatar and Qatar-related businesses.
17         91.    However, the effects of the Disinformation Conspiracy were almost
18   immediate. In particular, Mosafer’s sales of travel packages originating in the U.S.
19   for travel to or via Qatar declined significantly from mid-2017 through 2019.
20         92.    Customers canceled reservations that they had with Mosafer as a direct
21   result of the Disinformation Conspiracy carried out by Defendants. Indeed, on
22   numerous occasions, U.S.-based consumers – including those located in California –
23   contacted Mosafer to ask questions or express concerns over the safety of traveling to
24   Qatar. This concern was prompted by media that the consumers had viewed,
25   including articles and posts wallpapered across the Internet as part of the
26   Disinformation Conspiracy described herein. As a result of the waves of false
27   advertisements directed at consumers through social media and conventional media,
28

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1    Mosafer was inundated with calls and complaints from customers in the U.S. and
2    around the world.
3          93.    To try and mitigate its losses, Mosafer attempted to reassure its
4    customers and combat the Disinformation Conspiracy. Mosafer informed these
5    consumers who expressed concern that there was no truth to the “news” reports they
6    had seen regarding the state of political affairs in Qatar or Qatari businesses’ alleged
7    support of terrorism or human rights abuses. Mosafer also briefly tried to combat the
8    Disinformation Conspiracy with a focused series of ad campaigns.
9          94.    However, due to the substantial impact and far reach of the
10   Disinformation Conspiracy (not to mention its secretive and deceptive nature),
11   Mosafer was unsuccessful in its attempt to gain back the customers and business
12   partners it had lost. Despite Mosafer’s efforts to correct the disinformation that
13   consumers had obtained, many of these customers who had expressed concern,
14   including those who lived in California, still canceled the trips to Qatar that they had
15   booked with Mosafer. There was no way for Mosafer to “unring the bell” that the
16   Disinformation Conspiracy had tolled.
17         95.    Once Mosafer started aggressive online marketing campaigns, they began
18   getting online traffic, but their revenue never reached their expectation. For example,
19   customers logged onto the Mosafer website but did not ultimately proceed with check-
20   out. In addition, staff at the Mosafer retail store reported that foot traffic reduced
21   dramatically and in-store sales decreased. And California clients of the Mosafer
22   entities canceled their orders and stopped doing business with the Mosafer entities.
23         96.    Moreover, the sales from Mosafer’s retail and e-commerce stores also
24   dropped significantly. As a result, Mosafer was forced to close its New York store,
25   cancel its plans to open a retail store in California, and had to pay a substantial penalty
26   to break its New York lease in late-2019.
27         97.    Thus, Defendants’ attacks—orchestrated by Broidy and Nader—crippled
28   Mosafer, causing catastrophic loss. Indeed, as a direct result of the Disinformation

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1    Conspiracy, Mosafer not only lost existing and prospective travel customers,
2    including many in California, but its revenue declined precipitously—by hundreds of
3    millions of dollars on a global scale.
4                                 FIRST CAUSE OF ACTION
5                      Violation of California Unfair Competition Law
                  (California Business & Professions Code §§ 17200, et seq.)
6                           (All Plaintiffs Against All Defendants)
7          98.    Mosafer alleges and incorporates herein each and all of the allegations of
8    paragraphs 1 through 97, inclusive.
9          99.    California Business and Professions Code § 17200, et. seq (“UCL”)
10   prohibits “any unlawful, unfair[,] or fraudulent business act or practice and unfair
11   deceptive, untrue[,] or misleading advertising.”
12         100. The Disinformation Conspiracy described herein constitutes unlawful,
13   unfair, and/or fraudulent business acts and practices as set forth in the UCL.
14         101. Specifically, Defendants’ conduct violated the UCL in several ways:
15                   a. Defendants knowingly and intentionally spread disinformation
16                   regarding the state of Qatar and Qatari-based businesses—including
17                   Mosafer—by, among other tortious acts, creating websites and social
18                   media platforms here in the U.S. designed to mislead and deceive the
19                   public into believing that (1) Qatar and Qatari businesses were
20                   unstable and untrustworthy; (2) the political state of Qatar was
21                   extremely unstable, rendering travel to and through Qatar unsafe; and
22                   (3) boycotting Qatar businesses was necessary to counteract their
23                   terrorism funding activities. The purpose of the Disinformation
24                   Conspiracy was to divert business from Qatar and Qatari-related
25                   businesses to the UAE and UAE-related businesses;
26                b. Defendants violated FARA by either: (1) flouting their obligations to
27                   register as an “agent” of a “foreign principal”; (2) registering several
28                   months after they had launched websites and social media campaigns

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1                    spreading disinformation regarding Qatar and Qatari-based
2                    businesses; and/or (3) failing to appropriately label their publications
3                    in accordance with FARA requirements;
4                c. Defendants’ conduct has, and continues to, threaten and severely harm
5                    competition in the travel booking industry, and specifically, the
6                    Middle East travel booking industry, as well as in retail sales of high-
7                    end luxury travel items; and
8                d. Defendants’ conduct has violated other laws, including Cal. Bus. &
9                    Prof. Code § 17500, et seq. and the Lanham Act.
10         102. Defendants knew, or should have known through the exercise of
11   reasonable care, that the disinformation published in their advertisements through
12   these various channels was false, misleading, and likely to deceive members of the
13   public.
14         103. Defendants knew, or should have known through the exercise of
15   reasonable care, that these misrepresentations were material and that a reasonable
16   person would have attached importance to the truth or falsity of the representations
17   made by the Defendants in the Disinformation Conspiracy and would be influenced
18   not to do business with Mosafer as a result of the Disinformation Conspiracy.
19         104. The Disinformation Conspiracy carried out by Defendants was
20   oppressive and caused injury to consumers, which outweigh its benefits. Consumers
21   were fed false information regarding Qatar and Qatari businesses, which resulted in
22   such consumers canceling their reservations with Mosafer and/or otherwise refusing to
23   do business with Mosafer.
24         105. Through this cause of action, Mosafer requests equitable and injunctive
25   relief prohibiting Defendants from engaging in the conduct and practices alleged
26   herein. Furthermore, Mosafer is entitled to attorneys’ fees pursuant to California
27   Code of Civil Procedure § 1021.5.
28

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1                               SECOND CAUSE OF ACTION
2                      Violation of California False Advertising Law
                 (California Business & Professions Code §§ 17500, et seq.)
3                          (All Plaintiffs Against All Defendants)
4          106. Mosafer alleges and incorporates herein each and all of the allegations of
5    paragraphs 1 through 97, inclusive.
6          107. Pursuant to California Business and Professions Code § 17500, et. seq
7    (the “FAL”):
8               It is unlawful for any person, firm, corporation or association, or
9
                any employee thereof with intent directly or indirectly to dispose
                of real or personal property to perform services, professional or
10              otherwise, or anything of any nature whatsoever or to induce the
11
                public to enter into any obligation relating thereto, to make or
                disseminate or cause to be made or disseminated before the
12              public in this state, or to make or disseminate or cause to be made
13              or disseminated from this state before the public in any state, in
                any . . . publication, or any advertising device, or by public
14              outcry or proclamation, or any in any other manner or means
15              whatever, including over the Internet, any statement, concerning
                that real or personal property or those services, professional or
16              otherwise, or concerning any circumstance or matter of fact
17              connected with the proposed performance or disposition thereof,
                which is untrue or misleading, and which is known, or which by
18              the exercise of reasonable care should be known, to be untrue or
19              misleading[.]

20         108. Defendants knowingly and intentionally spread disinformation regarding
21   the state of Qatar and Qatari-based businesses (such as Mosafer) in order to mislead
22   and deceive the public into believing that (1) Qatar and Qatari businesses were
23   unstable and untrustworthy; (2) the political state of Qatar was extremely unstable,
24   rendering travel to and through Qatar unsafe; and (3) boycotting Qatar businesses was
25   necessary to counteract their terrorism funding activities.
26         109. Through their Disinformation Conspiracy, Defendants disseminated
27   material false and misleading information through advertisements that were likely to
28   deceive members of the public throughout the U.S. through the following methods:
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1                 a. Conventional media advertising, such as print ads and influencers;
2                 b. The Internet, including the creation of websites, such as
3                    Qatarexposed.com, Qatartruth.com, BoycottQatarnow.com, and
4                    Qatarcrisisnews.com; and
5                 c. Creating corresponding social media accounts for each website on
6                    platforms such as YouTube, Facebook, and Twitter, among other
7                    social media platforms.
8          110. The intent of the Disinformation Conspiracy was to promote the UAE
9    and UAE-based businesses by disparaging Qatar and Qatari-related businesses.
10         111. Defendants knew, or should have known through the exercise of
11   reasonable care, that these misrepresentations were material and that a reasonable
12   person would have attached importance to the truth or falsity of the representations
13   made by the Defendants in the Disinformation Conspiracy and would be influenced
14   not to do business with Mosafer as a result of the Disinformation Conspiracy.
15         112. As a result of Defendants’ Disinformation Conspiracy, Mosafer has
16   suffered severe harm, including a loss of sales and goodwill.
17         113. Through this cause of action, Mosafer requests equitable and injunctive
18   relief prohibiting Defendants from engaging in the conduct and practices alleged
19   herein. Furthermore, Mosafer is entitled to attorneys’ fees pursuant to California
20   Code of Civil Procedure § 1021.5.
21                              THIRD CAUSE OF ACTION
22        False Advertising In Violation of Section 43(a)(1)(B) of the Lanham Act
                                 (15 U.S.C. § 1125(a)(1)(B)
23                         (All Plaintiffs against all Defendants)
24         114. Mosafer alleges and incorporates herein each and all of the allegations of
25   paragraphs 1 through 97, inclusive.
26         115. Under Section 43(a)(1)(B) of the Lanham Act, “[a]ny person who, on or
27   in connection with any goods or services . . . uses in commerce any word, term, name,
28   symbol, or device, or any combination thereof, or any false designation of origin, false

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1    or misleading description of fact, or false or misleading representation of fact, which--
2    . . . (B) in commercial advertising or promotion, misrepresents the nature,
3    characteristics, qualities, or geographic origin of his or her or another person’s goods,
4    services, or commercial activities, shall be liable in a civil action by any person who
5    believes that he or she is or is likely to be damaged by such act.” 15 U.S.C. §
6    1125(a)(1)(B).
7          116. Defendants knowingly and intentionally spread disinformation regarding
8    the state of Qatar and Qatari-based businesses (such as Mosafer) in order to mislead
9    and deceive the public into believing that (1) Qatar and Qatari businesses were
10   unstable and untrustworthy; (2) the political state of Qatar was extremely unstable,
11   rendering travel to and through Qatar unsafe; and (3) boycotting Qatar businesses was
12   necessary to counteract their terrorism funding activities.
13         117. Through their Disinformation Conspiracy, Defendants disseminated false
14   and misleading information through advertisements that were likely to deceive
15   members of the public throughout the U.S. through the following methods:
16                a. Conventional media advertising, such as print ads and influencers;
17                b. The Internet, including the creation of websites, such as
18                    Qatarexposed.com, Qatartruth.com, BoycottQatarnow.com, and
19                    Qatarcrisisnews.com; and
20                c. Creating corresponding social media accounts for each website on
21                    platforms such as YouTube, Facebook, and Twitter, among other
22                    social media platforms.
23         118. The intent of the Disinformation Conspiracy was to promote the UAE
24   and UAE-based businesses by disparaging Qatar and Qatari-related businesses.
25         119. Defendants knew, or should have known through the exercise of
26   reasonable care, that these misrepresentations were material and that a reasonable
27   person would have attached importance to the truth or falsity of the representations
28

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1    made by the Defendants in the Disinformation Conspiracy and would be influenced
2    not to do business with Mosafer as a result of the Disinformation Conspiracy.
3          120. As a result of Defendants’ Disinformation Conspiracy, Mosafer has
4    suffered severe harm, including a loss of sales and goodwill.
5          121. Through this cause of action, Mosafer requests its actual damages,
6    including future damages, that Mosafer has sustained, or will sustain, due to
7    Defendants’ wrongful conduct, as well as equitable relief including disgorgement of
8    all proceeds and moneys wrongfully received by Defendants as a result of their
9    wrongful conduct, and injunctive relief prohibiting Defendants from engaging in the
10   conduct and practices alleged herein. Furthermore, Mosafer is entitled to attorneys’
11   fees and costs.
12                             FOURTH CAUSE OF ACTION
                                           Trade libel
13                           (All Plaintiffs against all Defendants)
14         122. Mosafer alleges and incorporates herein each and all of the allegations of
15   paragraphs 1 through 97, inclusive.
16         123. Mosafer’s travel agency allows customers to book travel to Qatar and
17   other middle eastern destinations by traveling through Qatar. Moreover, Mosafer’s
18   branding, including the branding in its retail stores and e-commerce stores, attempted
19   to make the companies synonymous with Qatar.
20         124. Defendants knowingly and intentionally spread false and disparaging
21   information regarding the state of Qatar and Qatari-based businesses—including
22   Mosafer—by using media, websites, and social media platforms in order to mislead
23   and deceive the public into believing that (1) Qatar and Qatari businesses were
24   unstable and untrustworthy; (2) the political state of Qatar was extremely unstable,
25   rendering travel to and through Qatar unsafe; and (3) boycotting Qatar businesses was
26   necessary to counteract their terrorism funding activities.
27

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1          125. As a result of Defendants’ Disinformation Conspiracy, Mosafer has
2    suffered severe harm, including a loss of sales and goodwill, because customers were
3    deceived into believing that they should not do business with Mosafer.
4          126. Through this cause of action, Mosafer seeks special damages for the
5    customers that it lost as a result of the Disinformation Conspiracy.
6                                FIFTH CAUSE OF ACTION
7                                           Negligence
                             (All Plaintiffs against all Defendants)
8
           127. Mosafer alleges and incorporates herein each and all of the allegations of
9
     paragraphs 1 through 97, inclusive.
10
           128. Defendants owed Mosafer a duty of care based on its affirmative conduct
11
     in creating a risk and based on its statutory obligations not to make misleading
12
     statements and not to violate FARA.
13
           129. Defendants breached their duty to Mosafer by, in violation of FARA and
14
     false advertising laws, knowingly and intentionally spreading disinformation
15
     regarding the state of Qatar and Qatari-based businesses (such as Mosafer) by using
16
     media, websites, and social media platforms in order to mislead and deceive the public
17
     into believing that (1) Qatar and Qatari businesses were unstable and untrustworthy;
18
     (2) the political state of Qatar was extremely unstable, rendering travel to and through
19
     Qatar unsafe; and (3) boycotting Qatar businesses was necessary to counteract their
20
     terrorism funding activities.
21
           130. Defendants’ actions directly and proximately damaged Mosafer, and as a
22
     result of these actions and/or omissions, Plaintiffs suffered damages.
23
           131. Through this cause of action, Mosafer seeks monetary damages of at least
24
     $75,000 for Defendants’ conduct described herein.
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1                                  PRAYER FOR RELIEF
2    WHEREFORE, Plaintiffs pray that this Court enters judgment in their favor and
3    against Defendants as follows:
4          1.    Compensatory damages in an amount to be proven at trial;
5          2.    Attorneys’ fees and costs;
6          3.    Equitable relief including restitution and/or disgorgement of profits;
7          4.    Injunctive relief; and
8          5.    Any other relief that the Court may deem just and proper.
9

10   DATED: August 5, 2021                         LARSON LLP
11

12
                                               By: /s/ Stephen G. Larson
13
                                                  Stephen G. Larson
14                                                Koren L. Bell
                                                  Paul A. Rigali
15
                                                  Jonathan D. Gershon
16                                                Attorneys for Plaintiffs MOSAFER
                                                  INC., MOSAFER E-COM, INC.,
17
                                                  and GOMOSAFER
18
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1                                DEMAND FOR JURY TRIAL
2
           In accordance with Rule 38(b) of the Federal Rules of Civil Procedure,
3
     Plaintiffs hereby demand a trial by jury with respect to all issues and claims, asserted
4
     by any party, triable of right by a jury, in the above-captioned action.
5

6
     DATED: August 5, 2021                           LARSON LLP
7

8

9                                                By: /s/ Stephen G. Larson
                                                    Stephen G. Larson
10
                                                    Koren L. Bell
11                                                  Paul A. Rigali
                                                    Jonathan D. Gershon
12
                                                    Attorneys for Plaintiffs MOSAFER
13                                                  INC., MOSAFER E-COM, INC.,
                                                    and GOMOSAFER
14

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                           COMPLAINT AND DEMAND FOR JURY TRIAL
